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 9
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10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                            SAN JOSE DIVISION
12

13   UNITED STATES OF AMERICA,                        )   NO. 5:24-CR-00491-EJD
                                                      )
14           Plaintiff,                               )   STIPULATION TO CONTINUE HEARING AND
                                                      )   EXCLUDE TIME FROM JULY 7, 2025, TO JULY
15      v.                                            )   28, 2025, AND [PROPOSED] ORDER
                                                      )
16   AADITYA CHAND,                                   )
                                                      )
17           Defendant.                               )
                                                      )
18

19           It is hereby stipulated by and between counsel for the United States and counsel for the
20 defendant Aaditya Chand, that time be excluded under the Speedy Trial Act from July 7, 2025, through

21 July 28, 2025.

22           At the status conference held on May 19, 2025, the government and counsel for the defendant
23 agreed that time be excluded under the Speedy Trial Act so that defense counsel could continue to

24 prepare, including by reviewing the discovery already produced. Additionally, the parties report to the

25 Court that they have requested Pretrial Services conduct an assessment of this matter, that Pretrial

26 Services will need time to complete that assessment, and that the parties will need time to confer and
27 review that assessment. For this reason and as further stated on the record at the previous status

28 conference, the parties stipulate and agree that continuing the status hearing scheduled for July 7, 2025,

     STIPULATION TO CONTINUE, EXCLUDE TIME AND [PROPOSED] ORDER
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 1 to, and excluding time until July 28, 2025, will allow for the effective preparation of counsel. See 18

 2 U.S.C. § 3161(h)(7)(B)(iv). The parties further stipulate and agree that the ends of justice served by

 3 excluding the time from July 7, 2025, through July 28, 2025, from computation under the Speedy Trial

 4 Act outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C. §

 5 3161(h)(7)(A), (B)(iv).

 6          The undersigned Special Assistant United States Attorney certifies that he has obtained approval

 7 from counsel for the defendant to file this stipulation and proposed order.

 8

 9          IT IS SO STIPULATED.

10 DATED: July 2, 2025                                            /s/                  ___
                                                         JOHNNY E. JAMES JR.
11                                                       Special Assistant United States Attorney

12
     DATED: July 2, 2025                                          /s/                ___
13                                                       DAVID R. CALLAWAY
                                                         Counsel for Defendant Aaditya Chand
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     STIPULATION TO CONTINUE, EXCLUDE TIME AND [PROPOSED] ORDER
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 1                                           [PROPOSED] ORDER

 2          Based upon the facts set forth in the stipulation of the parties and the representations made to the

 3 Court on May 19, 2025, by the parties in the written stipulation above, and for good cause shown, the

 4 Court finds that failing to exclude the time from July 7, 2025, through July 28, 2025, would

 5 unreasonably deny defense counsel and the defendant the reasonable time necessary for effective

 6 preparation, taking into account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv).

 7 Additionally, the parties report to the Court that they have requested Pretrial Services conduct an

 8 assessment of this matter, that Pretrial Services will need time to complete that assessment, and that the

 9 parties will need time to confer and review that assessment. The Court further finds that the ends of

10 justice served by excluding the time from July 7, 2025, to July 28, 2025, from computation under the

11 Speedy Trial Act outweigh the best interests of the public and the defendant in a speedy trial. Therefore,

12 and with the consent of the parties, IT IS HEREBY ORDERED that the time from July 7, 2025, through

13 July 28, 2025, shall be excluded from computation under the Speedy Trial Act. 18 U.S.C. §

14 3161(h)(7)(A), (B)(iv).

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16          IT IS SO ORDERED.

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18 DATED: ___________________                                     ___________________________
                                                                  EDWARD J. DAVILA
19                                                                United States District Judge

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     STIPULATION TO CONTINUE, EXCLUDE TIME AND [PROPOSED] ORDER
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